     Case 3:14-cr-00002-DHB-BKE Document 372 Filed 07/07/15 Page 1 of 1

                                                                              ,ftufD
                                                                                    COURT
                                                                         U.S.DISTRICT
                                                                                   DIY.
                                                                            AUfiIJSTA
                      IN THE LTNITEDSTATESDISTRICTCOURT
                                                                           JUL-7 .Pt{12,25
                                                                        2El5
                    FORTHE SOUTHERNDISTRICTOF GEORGIA

                                  DUBLIN DIVISION

T'NITED STATESOF AMERICA                 )
                                         )
             VS.                         )                  CASENO:CR314-2
                                         )
DERRICKBERNARDMOYE                       )

                                      ORDER

      Thedefendant,                            on May 21, 2015andis in the
                 DerrickBernardMoye,wassentenced

custodyof the Bureauof Prisons.

                                  the retumof the $1,000.00cashsecuritypostedon the
      Swety,Alice Moye,hasrequested

         $ I 0,000.00
defendant's         bond.

      IT IS HEREBYORDEREDthatthecashcollateralin the amountof $1,000.00posted

                               plusall accruedinterestthereon,be returnedto: 919Andrew
by Alice Moye for this defendant,

     Dublin,Georgia
Cour"t.           31021.



                                             2015at Augusta,Georgia,




                                               HONORABLEDIIDLEY H. BO
                                               T]\IITED STATESDISTRICTJUDGE
                                               SOUTHERNDISTRICTOF GEORGIA
